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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

STEPHANIE CLIFFORD,
_____________________________

                       Plaintiff(s),                             2:19-cv-119
                                                       Case No. _______________________

        vs.                                                   Michael H. Watson
                                                       Judge: _______________________
                                                       Magistrate Judge: _____________________
                                                                             Elizabeth P. Deavers


SHANA M. KECKLEY, et al.,
_____________________________

                       Defendant(s).


                                 NOTICE SETTING MEDIATION

[ X ] TAKE NOTICE that a proceeding in this case has been set for a Settlement Conference for the
place, date, and time set forth below:

Place: Joseph P. Kineary U.S. Courthouse, 85 Marconi Boulevard, Columbus, Ohio 43215;
        report to Chambers Room 208


Date: September 27, 2019 at 9:00 a.m.




Unless otherwise ORDERED either by the Court, on its own motion or at the request of the parties, the
rules for mediation are:

   1.          Each party and the trial attorney must attend.
   2.          Plaintiff will tender to defendants and the mediator a fully documented settlement
               demand by __________.
                              September 13, 2019

   3.          Defendants will tender to plaintiff and to the mediator a fully documented response by
               September 20, 2019
               ____________.
   4.          All settlement discussions shall be subject to Federal Evidence Rule 408.
   5.          Mediation Briefs shall be served on the Mediator and all counsel by September 20, 2019.


      09/04/2019
Date: _______________                          /s/ Mary Barley-McBride
                                               Mediator
